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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


LONE STAR TECHNOLOGICAL           §
INNOVATIONS, LLC                  §
                                  §
V.                                §     CIVIL NO. 6:19-cv-00059
                                  §
ASUS COMPUTER INTERNATIONAL, §
et al                             §
________________________________________________________________________

             MINUTES FOR JURY SELECTION AND FIRST DAY OF TRIAL
                HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                                MAY 17, 2021

OPEN: 8:21 a.m.                                    ADJOURN: 5:24 p.m.
________________________________________________________________________

ATTORNEYS FOR PLAINTIFF:             John Saba, Joshua Bennett and Monica Litle

ATTORNEYS FOR DEFENDANT: Vinay Joshi and Andrew Oliver

LAW CLERK:                           Jonathan Powers

COURTROOM DEPUTY:                    Betty Schroeder

COURT REPORTER:             Kate McAlpine
________________________________________________________________________

8:21-8:33 a.m. In chambers conference

9:44 a.m.     Case called; parties introduce themselves and announce ready, Court welcomes
              everyone, introduces himself and staff and gives preliminary comments; begins voir
              dire

9:58 a.m.     Panel members introduce themselves

10:15 a.m.    Mr. Joshua Bennett introduces himself, co-counsel, client and witnesses

10:16 a.m.    Court questions the panel regarding knowledge of Plaintiff’s attorneys or witnesses;
              no response
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10:16 a.m.   Mr. Andrew Oliver introduces himself, co-counsel, client and witnesses

10:19 a.m.   Court questions the panel regarding knowledge of Defendant’s attorneys or
             witnesses; no response

10:19 a.m.   Court continues with voir dire

10:34 a.m.   Mr. Bennett begins voir dire for the Plaintiff

10:51 a.m.   Mr. Oliver begins voir dire for the Defendant

10:57 a.m.   Court asks for additional questions from the parties

11:00 a.m.   Court dismisses the panel, except for those called out, for a break

11:01 a.m.   Court questions the three panel members regarding their hardships; no objections
             from the parties; all three panel members released

11:07 a.m.   Mr. Oliver questions the Court regarding a member; Mr. Bennett concurs; she is
             released by agreement

11:09 a.m.   A member of the panel informs the Court of a medical condition; Mr. Bennett
             questions the panel member; Court questions the parties; no objections for him to be
             released

11:15 a.m.   Recess

11:38 a.m.   Jury announced and remaining panel members excused

11:40 a.m.   Jury sworn in; Court gives preliminary comments to the jury

11:45 a.m.   Recess

1:07 p.m.    Outside the presence of the jury, Court and parties discuss Plaintiff’s Exhibit 26;
             Court overrule’s Defendant’s objection based on authentication; Court and parties
             discuss Plaintiff’s issue with claim 17

1:14 p.m.    Jury seated

1:15 p.m.    Court gives preliminary instructions to jury

1:41 p.m.    Mr. John Saba gives opening statement for Plaintiff

2:00 p.m.    Mr. Oliver gives opening statement for Defendant
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2:22 p.m.   Objection by Mr. Saba; Court - will give some latitude

2:31 p.m.   Court inquiries if the parties want to invoke the rule; neither party wishes to invoke
            the rule

2:32 p.m.   Jury out

2:33 p.m.   Outside the presence of the jury, Court and parties discuss the objections made
            during opening statements

2:33 p.m.   Recess

2:51 p.m.   Jury seated

2:53 p.m.   Mr. Bennett calls Jesse Rice; witness sworn in

2:54 p.m.   Mr. Bennett begins direct examination of Mr. Rice

3:10 p.m.   Mr. Vinay Joshi begins cross examination of Mr. Rice

3:19 p.m.   Objection by Mr. Bennett; Mr. Joshi will rephrase the question

3:22 p.m.   Mr. Bennett begins redirect examination of Mr. Rice

3:26 p.m.   Mr. Joshi begins recross examination of Mr. Rice

3:28p.m.    Mr. Bennett calls Alvin Lin (will testify via remote link)

3:28 p.m.   Jury excused to get the remote set up

3:29 p.m.   Outside the presence of the jury, Mr. Joshi advises that the remote witness is ready
            and standing by along with attorney and interpreter; Mr. Bennett objects to the issue
            of testing with Mr. Lin; Mr. Joshi responds; Court responds - sustained

4:00 p.m.   Jury seated

4:01 p.m.   Court explains to the jury our delay regarding technical delays

4:02 p.m.   Interpreter sworn in; Mr. Lin sworn in

4:03 p.m.   Mr. Bennett begins direct examination of Mr. Lin

4:29 p.m.   Objection by Mr. Joshi; Court - overruled

4:33 p.m.   Objection by Mr. Joshi; Mr. Bennett responds; Court - overruled
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4:48 p.m.   Objection by Mr. Bennett; Court - sustained

5:13 p.m.   Jury excused

5:14 p.m.   Outside the presence of the jury; Court instructs the interpreter and witness to be
            back tomorrow via remote by 8:45 a.m. and instructs the witness to not have any
            communications with attorneys regarding his testimony

5:21 p.m.   Court and parties discuss objections to be made, time remaining and parties are to
            try to resolve any issues that may come up overnight

5:24 p.m.   Recess
